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dn the
United States Court of Appeals

For the Eleventh Circuit

No. 21-11565

SEAN P. REILLY,
Petitioner-Appellant,
versus

SECRETARY, FLORIDA DEPARTMENT OF CORRECTIONS,

Respondent-Appellee.

Appeal from the United States District Court
for the Northern District of Florida
D.C. Docket No. 4:20-cv-00145-TKW-EMT

ORDER:
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2 Order of the Court 21-11565

On the Court’s own motion, the Court directs counsel to be
appointed to represent the appellant in this appeal. Counsel will be
appointed by separate order.

DAVID J. SMITH
Clerk of the United States Court of
Appeals for the Eleventh Circuit

ENTERED FOR THE COURT - BY DIRECTION
